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 14
                             UNITED STATES DISTRICT COURT
 15
                           CENTRAL DISTRICT OF CALIFORNIA
 16
 17   ALMONT AMBULATORY SURGERY                        Case No 2:14-cv-03053-MWF(AFMx)
      CENTER, LLC, et al.,
 18                                                     COUNTERCLAIM PLAINTIFFS’
                         Plaintiffs,                    OPPOSITION TO KAMILLE
 19
      v.                                                DEAN’S MOTION TO
 20                                                     WITHDRAW
      UNITEDHEALTH GROUP
 21   INCORPORATED, et al.,
                                                        Judge Michael Fitzgerald
 22                  Defendants.
                                                        Hearing
 23   _____________________________________             Time: 10:00 a.m.
      UNITED HEALTHCARE SERVICES, INC.,                 Date: March 19, 2018
 24   et al.,                                           Place: Courtroom 5A

 25                      Counterclaim Plaintiffs,       Discovery Cut-off: Sept. 14, 2018
      v.                                                Pretrial Conference: Jan. 7, 2019
 26                                                     Trial Date: Jan. 29, 2019
      ALMONT AMBULATORY SURGERY
 27   CENTER, LLC, et al.,
 28                      Counterclaim Defendants.

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  1           This case is approaching its fourth anniversary, and in that time,
  2   Counterclaim Defendants1 have been represented by no fewer than sixteen
  3   attorneys from nine law firms. In what looks like an attempt to leave the 28
  4   Counterclaim Defendants without outside counsel, their current attorney, Kamille
  5   Dean, is now threatening to withdraw unless Magistrate Judge MacKinnon orders
  6   United to pay for Ms. Dean’s attorney’s fees and costs in reviewing documents for
  7   production in discovery. Not coincidently, this transparent attempt to extract
  8   compensation from United comes at a time when Magistrate Judge MacKinnon has
  9   compelled Counterclaim Defendants to search for, review, and produce responsive
 10   documents—something they have successfully avoided for nearly three years. This
 11   is an improper basis for withdrawal, but entirely consistent with Counterclaim
 12   Defendants’ strategy to evade their discovery obligations and to disrupt any
 13   progress toward a January 2019 trial date. Because Ms. Dean’s proffered reasons
 14   for withdrawal do not establish “good cause,” this Court should deny Ms. Dean’s
 15   motion.
 16                                   I.     BACKGROUND
 17           On March 21, 2014, Plaintiff Providers, represented by the Hooper Lundy
 18   law firm, initiated this action (as well as a related—but now dismissed—action
 19   against United and several hundred plans and plan sponsors, i.e., the “Main
 20   Action,” Case No. 14-cv-2139) for millions of dollars owed for Lap Band services
 21   allegedly provided to patients through numerous affiliated entities. Dkt. 1. Shortly
 22   thereafter, United Healthcare Services, Inc., UnitedHealthcare Insurance Company,
 23   and OptumInsight, Inc. (collectively “United”) brought a Counterclaim in this
 24   “Removed Action” (14-cv-3053) alleging that Counterclaim Defendants, led by
 25
 26   1
       “Counterclaim Defendants” herein refers to all Counterclaim Defendants except
      AsiaTrust Nevis and Asset Management Irrevocable Trust, both of whom were
 27   added in United’s Third Amended Counterclaim and neither of whom have
 28   answered or otherwise appeared in this case.
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  1   brothers Julian and Michael Omidi, conspired to defraud United and hundreds of
  2   group health plans it administers into paying fraudulent medical claims. Dkt. 15.
  3   Counterclaim Defendants initially consisted of all Plaintiffs, various other related
  4   corporate entities, and brothers Michael and Julian Omidi. Sheppard Mullin
  5   represented the Omidi brothers and Hooper Lundy represented all other corporate
  6   Counterclaim Defendants. On April 30, 2015, United served its Second Amended
  7   Counterclaim (“SACC”), adding three new Counterclaim Defendants (Cindy
  8   Omidi, Property Care Insurance, Inc., and DeVida USA, LLC) all of whom were
  9   represented by the Kashfian & Kashfian law firm. Dkt. 152.
 10         On September 16, 2015—the day before the Court held a hearing on
 11   Counterclaim Defendants’ motion to dismiss the SACC—Sheppard Mullin moved
 12   to withdraw from representing Julian and Michael Omidi. Dkt. 223. United took
 13   no position on that motion, and the Court granted it. Dkts. 230, 240. Robert Rice
 14   then appeared on behalf of Michael and Julian Omidi. Dkt. 246. Five months later,
 15   Hooper Lundy moved to withdraw from representing the corporate Counterclaim
 16   Defendants because it had not been paid and its clients were not cooperating. Dkt.
 17   270. United did not oppose Hooper Lundy’s motion, but asked that Counterclaim
 18   Defendants be required to retain substitute counsel before the time Hooper Lundy
 19   was permitted to withdraw so that such withdrawal would not delay the resolution
 20   of outstanding discovery obligations. Dkt. 290. The Court granted Hooper
 21   Lundy’s motion but ordered the Plaintiff Providers to show cause on or before May
 22   11, 2016 why its affirmative claims against United in the Main Action and
 23   Removed Action should not be dismissed for failure to prosecute. Dkt. 318 at 5.
 24   Counterclaim Defendants failed to retain new counsel before the deadline, and this
 25   Court dismissed their claims with prejudice. Dkt. 335.
 26         Since their affirmative claims were dismissed, Counterclaim Defendants
 27   have been represented by a revolving door of attorneys, including:
 28         1.     Robert Rice (Law Offices of Robert Rice): Actively represented only
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  1                Michael and Julian Omidi from November 23, 2015 until May 27,
  2                2016, when he then appeared as counsel of record for eight of the
  3                corporate Counterclaim Defendants. Dkts. 246, 341. On June 1, 2016,
  4                Mr. Rice appeared as counsel for nine additional Counterclaim
  5                Defendants. Dkt. 347. Mr. Rice continued in this role until
  6                approximately September 30, 2016, when United was told that he is no
  7                longer counsel on this matter although he has never formally
  8                withdrawn and is still identified as a “lead attorney” on the docket.
  9                Dkts. 246, 341, 347.2
 10           2.   Dmitriy Aristov (Aristov Law): First appeared on May 31, 2016, and
 11                withdrew on September 30, 2016. Dkts. 345, 388.
 12           3.   Roger Diamond (Roger J Diamond Law Offices): First appeared on
 13                June 3, 2016 and moved to withdraw on February 16, 2018. Dkts.
 14                350, 764.
 15           4.   Imre Ilyes (Law Office of Imre Ilyes): First appeared on March 1,
 16                2017. Mr. Ilyes has never actively participated in this litigation,
 17                though he is still identified as a “lead attorney” on the docket. Dkt.
 18                449.
 19           5.   Mark Jubelt (Law Office of Mark Jubelt): First appeared on
 20                September 30, 2016 and withdrew on September 8, 2017. Dkts. 388,
 21                518.
 22           6.   Kamille Dean (Law Offices of Kamille Dean, PLC): First appeared on
 23                September 8, 2017 for all Counterclaim Defendants and moved to
 24                withdraw on February 9, 2018. Dkts. 518, 757.
 25           7.   Kashfian & Kashfian LLP: Have represented Cindy Omidi, Property
 26
      2
       During a June 22, 2017 status conference with Magistrate Judge MacKinnon, Mr.
 27   Jubelt indicated that he believed that Mr. Rice had withdrawn, although he had not
 28   and still has not done so.
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  1                Care Insurance, Inc. and DeVida USA, LLC since July 15, 2015.
  2                Dkts. 177-79. Although Kashfian & Kashfian has never formally
  3                withdrawn and is still identified as a “lead attorney” on the docket for
  4                these three parties, it has not actively participated in this litigation
  5                since approximately April 2017. Recently, Ryan Kashfian has
  6                indicated to United that he “has not been a part of this case” and that
  7                Ms. Dean “took over” representation of each of his clients.
  8   Notably, Ms. Dean has not moved to withdraw as counsel in matters pending before
  9   the Ninth Circuit in which certain Counterclaim Defendants are still appealing
 10   several orders, including the denial of their motions to recuse and motions for
 11   reconsideration of the Court’s May 16, 2016 dismissal of Plaintiffs’ claims.
 12         Throughout all of these changes, the one constant has been Counterclaim
 13   Defendants’ refusal to engage in discovery. Despite United serving four sets of
 14   discovery requests, Counterclaim Defendants have not produced a single document
 15   or responded substantively to an interrogatory or request for admission since their
 16   April and May 2015 document productions that consisted of 3,900 pages of
 17   independent-contractor agreements and a subset of medical records for fifteen
 18   exemplar patients identified in United’s First Amended Counterclaim. One of
 19   Counterclaim Defendants’ attorneys even acknowledged their refusal to participate
 20   in discovery by conceding that at least three prior lawyers “all withdrew or refused
 21   to take charge of discovery.” See Dkt. 448, ¶ 6.
 22         After nearly eighteen months of attorney changes and unfulfilled promises
 23   about future document productions, on February 21, 2017, United moved to compel
 24   responses to its First Set of Discovery. Dkt. 441. Counterclaim Defendants did not
 25   oppose United’s motion, and instead, Mr. Jubelt filed a declaration documenting his
 26   “diligent” work to comply with United’s discovery requests. Dkt. 448, ¶ 3. On
 27   March 22, 2017, the court found that Counterclaim Defendants had waived any
 28   previously asserted objections and ordered Counterclaim Defendants “to promptly
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  1   review and produce all responsive documents and to prepare and serve substantive
  2   interrogatory answers.” Dkt. 462. Since the Order granting United’s motion to
  3   compel nearly a year ago, Counterclaim Defendants have failed to produce one
  4   document or provide substantive answers to any interrogatory, and instead, have
  5   been sanctioned for their failure to comply with the court’s March 22, 2017 Order.
  6   Dkts. 573, 753.
  7           As United sought to enforce the court’s order, Counterclaim Defendants
  8   failed to make any meaningful progress towards producing responsive documents.
  9   After months of fruitless conversations, on August 21, 2017 Counterclaim
 10   Defendants finally committed to searching for, reviewing, and producing
 11   documents from one of four relevant locations: (i) former attorney files; (ii)
 12   NexTech database;3 (iii) other electronic files; and (iv) “litigation binders.” Dkt.
 13   504 at 2. On the verge of finally complying with the court’s Order, Mr. Jubelt
 14   unexpectedly moved to withdraw two weeks later. Dkt. 518. Mr. Jubelt’s
 15   withdrawal appears to have been a tactical move to thwart discovery and renege on
 16   his promises to produce documents, not the result of some permanent fracture in the
 17   relationship between Counterclaim Defendants and Mr. Jubelt. Indeed, Magistrate
 18   Judge MacKinnon noted in his February 9, 2018 Order denying Counterclaim
 19   Defendants’ motion for relief from sanctions, Mr. Jubelt continues to represent
 20   Counterclaim Defendant Valley Surgical Center in its lawsuit against the Los
 21   Angeles Coroner’s office. See Dkt. 753 at 4 (“It is unusual that Providers would
 22   authorize a lawyer to continue to appear on their behalf—while simultaneously
 23   asserting that this same lawyer was grossly negligent in representing them in a
 24   different case.”).
 25
 26   3
       NexTech is an electronic medical records database used by Counterclaim
      Defendants during all times relevant to this litigation. Counterclaim Defendants
 27   admit that NexTech contains responsive documents, but deny they have possession,
 28   custody, or control of them.
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   1           On October 7, 2017—after more than three years of litigation—Counterclaim
   2   Defendants, now represented by Ms. Dean, argued for the first time that in May
   3   2014, Counterclaim Defendant Surgery Center Management, LLC (“SCM”)
   4   assigned the NexTech software license to a supposedly unrelated third-party named
   5   Imperium Medical Services, Inc., and thus, Counterclaim Defendants could not
   6   comply with the Court’s March 22, 2017, Order compelling production of patient
   7   records.4 See Dkt. 544.
   8           In November and December 2017, the court also ordered Counterclaim
   9   Defendants to review for responsiveness to United’s outstanding discovery requests
  10   (1) seized materials made available by the government for review and production;
  11   (2) documents that prior counsel had previously produced to the government; and
  12   (3) documents previously seized by the government but since returned to
  13   Counterclaim Defendants. Dkts. 655, 674, 676. No progress has been made in
  14   complying with these orders. It appears that Ms. Dean spent just three-and-a-half
  15   hours at a storage facility to review certain materials seized by the government.
  16   Dkt. 758-1, ¶ 10. As to the approximately 1.2 million pages that Sheppard Mullin
  17   produced to the government in response to subpoenas, Ms. Dean states only that it
  18   is “not physically possible” for her to examine these documents without any
  19   indication as to why or what effort, if any, she has undertaken to do so. Dkt. 757, ¶
  20   15.
  21           Again on the verge of having to review and produce documents responsive to
  22   United’s discovery requests, Ms. Dean unexpectedly moves to withdraw. Ms. Dean
  23
       4
  24     To consider the propriety of the supposed NexTech assignment—which
       Counterclaim Defendants concede occurred after the Plaintiff Providers filed suit
  25   against United—Magistrate Judge MacKinnon held a three-day evidentiary hearing
       at which he considered whether Imperium Medical Services, Inc. is an alter-ego of
  26   Counterclaim Defendants or whether Counterclaim Defendants otherwise
       maintained possession, custody, or control of NexTech. Following the hearing, the
  27   parties submitted proposed findings of fact and conclusions of law and this issue is
  28   still under consideration by Magistrate Judge MacKinnon. See Dkts. 725, 748.
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   1   notes that on February 5, 2018, she sent written notice to “the Clients” alerting
   2   them of her intention to withdraw. Dkt. 757 at 2.5 This was only four days before
   3   she filed the motion. Ms. Dean further provides no indication as to who she
   4   notified, particularly for the corporate Counterclaim Defendants. Ms. Dean should
   5   be required to disclose the identity of the person or persons for each of the
   6   corporate Counterclaim Defendants she notified.
   7           On the same day as Ms. Dean filed her motion to withdraw, Counterclaim
   8   Defendants filed a Motion for Protective Order asking Magistrate Judge
   9   MacKinnon to issue an order requiring United to pay Counterclaim Defendants’
  10   attorney’s fees and costs incurred in reviewing and producing any and all
  11   documents in discovery in this action. Dkt. 758. Ms. Dean notes in her motion to
  12   withdraw that if the court were to grant Counterclaim Defendants’ Motion for
  13   Protective Order and require United to pay her attorney fees, then she will not
  14   withdraw. Dkt. 757, ¶ 20.
  15                                     II.    ARGUMENT
  16           “The decision to grant or deny counsel’s motion to withdraw is within the
  17   discretion of the trial court.” Pini USA, Inc. v. NB Glob. Commodities, LLC, 2017
  18   U.S. Dist. LEXIS 181282, at *5 (C.D. Cal. Nov. 1, 2017); see also L.R. 83-2.3.2.
  19   The moving party must demonstrate “good cause” before they are permitted to
  20   withdraw, see L.R. 83-2.3.2, and to determine what constitutes good cause, courts
  21   weigh these factors: “(1) the reasons why withdrawal is sought; (2) the prejudice
  22   withdrawal may cause to other litigants; (3) the harm withdrawal might cause to the
  23   administration of justice; and (4) the degree to which withdrawal will delay the
  24   resolution of the case.” Beard v. Shuttermart of Cal., Inc., 2008 U.S. Dist. LEXIS
  25
       5
  26     Curiously, while the Motion refers to a February 5, 2018 written notice to the
       Clients, in Ms. Dean’s supporting Declaration, she states that “On January 31,
  27   2018, I notified each of my clients of my intention to seek Mandatory Withdrawal
       from this proceeding.” Dkt. 757 at 17.
  28
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   1   10575, at *6-7 (C.D. Cal. Feb. 13, 2008) (citing Irwin v. Mascott, 2004 U.S. Dist.
   2   LEXIS 28264, at *4 (N.D. Cal. Dec. 1, 2004)).
   3           Because the California Rules of Professional Conduct govern termination of
   4   an attorney-client relationship, see Cal. Code Prof’l Conduct 3-700, district courts
   5   look to that rule to determine the circumstances in which an attorney may
   6   withdraw. Here, Ms. Dean’s motion is premised entirely on her assertion that the
   7   California Rules of Professional Conduct require that she seek “mandatory
   8   withdrawal.” Dkt. 757 at 4 (citing Cal. Code Prof’l Conduct 3-700(B)). Her
   9   argument misconstrues the law and facts regarding mandatory withdrawal, and it
  10   further fails to adequately acknowledge the prejudice that will inure to United for
  11   what could be the seventh change of counsel since this Court dismissed Plaintiffs’
  12   claims on May 16, 2016.
  13   A.      A Discovery Dispute Does Not Constitute Good Cause To Withdraw
  14           Cal. Code Prof’l Conduct 3-700(B)(3) requires withdrawal if the attorney’s
  15   “mental or physical condition renders it unreasonably difficult to carry out the
  16   employment effectively.” Here, Ms. Dean claims that it is “physically impossible”
  17   for her to review and produce documents in compliance with various court orders,
  18   and thus, this rule compels her withdrawal. See Dkt. 757 at 4.6 But courts interpret
  19   the rule’s reference to “mental or physical condition” in the context of physical
  20   health, and not in the context of an attorney’s professed inability to comply with
  21   court orders and discovery rules. See, e.g., Smith v. Swarthout, 2016 U.S. Dist.
  22   LEXIS 5060, at *6 (N.D. Cal. Jan. 13, 2016). Ms. Dean has provided no evidence
  23   suggesting that her mental or physical health or impairment prevents her continued
  24
  25
       6
        Ms. Dean separately complains of the “impenetrable physical barrier” and the
  26   “extraordinary physical impracticality” of complying with “the Court’s instructions
       and fulfilling United’s discovery requests. Dkt. 757 at 4, 6. Hyperbole aside, none
  27   of her complaints constitute the “mental or physical condition” contemplated by
  28   Cal. Code Prof’l Conduct 3-700(B)(3).
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   1   representation.7 In fact, to the contrary Ms. Dean states that if the court were to
   2   grant Counterclaim Defendants’ Motion for Protective Order and require United to
   3   pay her attorney fees, then she will not withdraw. Dkt. 757, ¶ 20. Proving that it is
   4   not “physically impossible” for her to continue representation, rather her motion to
   5   withdraw is an attempt to preempt the court’s orders on Counterclaim Defendants’
   6   pending fee-shifting motion as well as whether they will be required to produce
   7   responsive patient documents from the NexTech database.
   8           Even if Ms. Dean’s interpretation of “physical condition” had any grounding
   9   in the law, she has no factual basis on which to claim her review and production of
  10   responsive documents is “impossible” or even unduly burdensome.8 Ms. Dean’s
  11   complaints about the burdens of civil discovery essentially boil down to “it’s too
  12   hard.” This is not enough to shift attorney fees and costs onto United, see Dkt. 767,
  13   and it is not enough to establish good cause for withdrawal. First, Ms. Dean’s
  14   motion offers no evidence for her claim that United’s discovery request necessitates
  15   review or production of “millions of documents.” Dkt. 757 at 4-5. United has not
  16   requested all documents relating to all 1,300 patients at issue in the counterclaim,
  17   and instead, it has consistently offered to meet-and-confer with Counterclaim
  18   Defendants regarding the scope of production and to prioritize certain records or
  19   patients. See Dkt. 441-2 at 20-21; Dkt. 604 at 12 n.16. Counterclaim Defendants
  20   have never engaged in this process. Second, Ms. Dean fails to acknowledge that
  21   there are steps she can take to reduce any conceivable burden, including the use of
  22
       7
        Ms. Dean’s failure to address any mental or physical impairment stands in stark
  23   contrast to the motion and declaration filed by Roger Diamond in which he
  24   describes a series of medical treatments, and then offers to further describe his
       health condition in camera. Dkt. 764. United takes no position on Mr. Diamond’s
  25   motion.
  26   8
         Counterclaim Defendants make an identical argument in support of their pending
       motion for protective order and cost shifting. Dkt. 758. United separately opposes
  27   that motion, see Dkt. 767. Magistrate Judge MacKinnon will hear this motion on
  28   March 13, 2018.
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   1   search terms for electronically stored information or the use of a Fed. R. Evid. 502
   2   clawback agreement. See Adair v. EQT Prod. Co., 2012 U.S. Dist. LEXIS 90250,
   3   at *13-14 (D. W. Va. June 29, 2012) (finding “costs could be mitigated by the use
   4   of electronic searching and production, together with the protections of the
   5   Protective and Clawback Order”). Third, her claim that complying with Magistrate
   6   Judge MacKinnon’s discovery orders is too overwhelming for her and her clients is
   7   belied by their ability to submit torrents of prodigious, repetitive and unnecessary
   8   briefings—even on short notice—when it serves their interests to do so. For
   9   example, they recently filed seven motions (totaling nearly 125 pages) to dismiss
  10   the Third Amended Counterclaim, containing nearly identical arguments this Court
  11   has already rejected. See Dkts. 705-08, 710, 712, 728. And on January 29, 2018,
  12   Counterclaim Defendants filed 100 pages of “objections” to United’s proposed
  13   Findings of Fact regarding the NexTech/Imperium hearings even though the court
  14   never authorized or called for such briefing. Dkts. 733-36, 747. In addition to this
  15   and related work,9 the appeal to the Ninth Circuit of Certain of this Court’s orders
  16   in the litigation that this Court described as “gargantuan” against over 300
  17
       9
  18     Similarly, Counterclaim Defendants have filed in this action multiple motions to
       stay discovery (Dkts. 102, 390, 437, 561); multiple motions in limine regarding a
  19   pre-trial evidentiary hearing (Dkts. 615, 661); multiple “objections” or sur-replies
       that the court never requested (Dkts. 555-60, 562, 600, 640); serial motions to
  20   reconsider the Court’s Order dismissing Plaintiffs’ Claims (Dkts. 349, 398, 401,
  21   405), and multiple, frivolous appeals to the Ninth Circuit on non-appealable orders
       (Dkts. 321, 359, 433, 633). Many of these motions have been repetitive, such as
  22   when Mr. Jubelt sought on behalf of Plaintiffs to recuse Your Honor on the same
       grounds that Robert Rice argued before him (and the Ninth Circuit) on behalf of
  23   Counterclaim Defendant Julian Omidi a year earlier. Dkts. 256, 423. Notably, the
  24   “sole practitioner” status of Ms. Dean and her predecessors has not inhibited their
       ability to file lengthy submissions on short notice, suggesting that Counterclaim
  25   Defendants can access the necessary resources when it suits them. As one recent
       example illustrates, Counterclaim Defendants immediately marshal the necessary
  26   resources when they perceive a benefit to their litigation position. See Dkt. 684
       (filing a 21-page opposition less than 24 hours after United’s ex parte application to
  27   stay a Rule 30(b)(6) deposition—an application Magistrate Judge MacKinnon
  28   nevertheless granted).
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   1   defendants is still being handled solely by Ms. Dean, suggesting that her
   2   withdrawal reflects her clients’ desire to reallocate resources rather than any
   3   incapacity on her part.
   4            Ms. Dean’s burden argument also fails because United’s First Set of
   5   Discovery—the requests about which she complains—have been pending for more
   6   than three years, or long before she became involved in this case. In fact, these
   7   requests were the subject of significant discussion among the parties in the months
   8   prior to her appearance. In other words, nothing has changed about the discovery
   9   demands such that it is now impossible for Ms. Dean to continue the representation
  10   in a way that was not apparent when she agreed to represent Counterclaim
  11   Defendants. Magistrate Judge MacKinnon had granted United’s motion to compel
  12   five months earlier and there was a string of status conferences with the Court
  13   regarding Mr. Jubelt’s attempts to comply with the discovery order. Ms. Dean
  14   willingly assumed this representation as a solo practitioner knowing the case’s
  15   complexities, Hooper Lundy’s withdrawal as prior counsel based on her clients’
  16   failure to pay their attorney fees, and presumably, the well-publicized seizure of
  17   some portion of her clients’ assets. Just six months after appearing, she should not
  18   be permitted to use a discovery dispute—one that plainly existed prior to her
  19   involvement—as an excuse to withdraw. Cf. Darby v. Torrance, 810 F. Supp. 275,
  20   276 (C.D. Cal. 1992) (denying motion to withdraw because moving attorney knew
  21   of the possibility of not getting paid at the time he agreed to the representation).10 It
  22   is clear that Ms. Dean’s motion to withdraw—as well as Mr. Jubelt’s before her—is
  23   obvious gamesmanship when Counterclaim Defendants’ past history have made
  24   10
         Ms. Dean also appears to seek mandatory withdrawal on the basis that she will
  25   violate a Rule of Professional Conduct or the State Bar Act. Dkt. 757 at 6-7 (citing
       Cal. Code Prof’l Conduct 3-700(B)(2)). She never identifies the rule her continued
  26   representation will force her to violate, and thus, United is unable to adequately
       respond. To the extent she argues that the so-called burden of civil discovery will
  27   force her to violate such a rule, she is still unable to establish that the discovery
  28   requests at issue are as burdensome as she claims.
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   1   clear that they will not participate in discovery on United’s counterclaim,11 yet have
   2   not ceased their affirmative claims against United by continuing to proceed with
   3   multiple appeals in which Ms. Dean is still counsel of record.
   4            Moreover, Ms. Dean’s burden argument presupposes that she is the only
   5   person capable of assisting Counterclaim Defendants with discovery. But recent
   6   sworn testimony suggests that Ms. Dean is far from alone. For example, Brian
   7   Oxman has been the self-described “litigation coordinator” for Counterclaim
   8   Defendant Surgery Center Management and related Omidi entity Golden State
   9   Practice Management, LLC, and in that role, he has “coordinated litigation . . . for
  10   each one of the counterclaim defendants.” Nov. 14, 2017 Tr. 16:5-9. Indeed, Ms.
  11   Dean paid Mr. Oxman for this work. Id. at 16:19-17:14. And more recently and at
  12   Ms. Dean’s invitation, Mr. Oxman has even attended meet-and-confer sessions
  13   among counsel (pursuant to L.R. 37-1), despite being disbarred in July
  14   2012. Similarly, Mr. Oxman’s wife, Maureen Jaroscak, has represented various
  15   Counterclaim Defendants including all three of the individual Omidis and
  16   SCM. Dec. 12, 2017 Tr. 149:17-25; 152:2-7; 205:17-22. Although she has not
  17   filed an appearance in this case, she maintains an office at 9100 Wilshire Blvd.,
  18   Suite 800 along with several other Counterclaim Defendants including SCM,
  19   DeVida USA, LLC, and various other Omidi entities (Dec. 12, 2017 Tr. 194:25-
  20   195:5); has assisted with setting-up dozens of Omidi-affiliated entities, including
  21   many Counterclaim Defendants; and has assisted in filing motions and other
  22   submissions in this matter (see, e.g., Dkts. 234; 247; 332; 333; 351; 368; 471;
  23   479). Though Ms. Dean has been the only attorney to sign filings on behalf of
  24   Counterclaim Defendants over the last six months, the sheer volume of briefing and
  25   Mr. Oxman’s and Ms. Jaroscak’s relationship with Counterclaim Defendants
  26
       11
          The individual Counterclaim Defendants have invoked the Fifth Amendment in
  27   attempting to avoid all discovery, including an improper objection to producing any
  28   documents. See Dkt. 758 at 10, n.3.
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   1   suggests Ms. Dean has plenty of help, and she should be able to turn to these same
   2   individuals for purposes of document discovery.
   3         Finally, Ms. Dean does not request permissive withdrawal under Cal. Code
   4   Prof’l Conduct 3-700(C), though she cites several cases addressing instances in
   5   which a court has granted permissive withdrawal. See, e.g., U.A. Local 342 Joint
   6   Labor-Mgmt. Comm. v. S. City Refrigeration, Inc., 2010 U.S. Dist. LEXIS 42700
   7   (N.D. Cal. Mar. 31, 2010); Hershey v. Berkeley, 2008 U.S. Dist. LEXIS 110402
   8   (C.D. Cal. Oct. 24, 2008); Cal. Native Plant Soc’y v. United States E.P.A., 2008
   9   U.S. Dist. LEXIS 95167 (N.D. Cal. Nov. 14, 2008). Instead she wants to continue
  10   with this representation, and seeks only mandatory withdrawal if Magistrate Judge
  11   MacKinnon denies Counterclaim Defendants’ motion requiring United to pay
  12   Counterclaim Defendants’ attorney’s fees (in an untold amount) to review and
  13   produce any documents in this litigation. Dkt. 757 at 17, ¶ 20. Indeed, Ms. Dean
  14   has offered no other explanation for her motion, including common reasons such as
  15   a communication breakdown with her clients or some other irreparable
  16   disagreement.
  17   B.    Ms. Dean’s Withdrawal Will Prejudice United And Delay The
  18         Resolution Of This Litigation
             There is apparently no dispute among the parties that Ms. Dean’s withdrawal
  19
       will further delay this litigation. See Dkt. 757 at 11 (acknowledging “Ms. Dean’s
  20
       withdrawal will likely delay” certain previously scheduled hearings and
  21
       depositions); see also Israel Travel Adv. Serv. v. Israel Identity Tours, 1993 U.S.
  22
       Dist. LEXIS 7433, at *6 (N.D. Ill. June 1, 1993) (stating, “the repeated substitution
  23
       of counsel prevented [the parties] from taking orderly discovery”). This case has
  24
       been delayed enough because of Counterclaim Defendants’ numerous attorney
  25
       changes, unnecessary motion practice, and abject failure to engage in meaningful
  26
       discovery. Any further delay because of yet another attorney change will prejudice
  27
       United.
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   1         Left unsaid by Ms. Dean’s motion is the true reason for seeking withdrawal:
   2   to further delay the production of documents critical to United’s counterclaim.
   3   United long ago served discovery requests seeking Patient Notes, superbills, and
   4   insurance-verification forms, among other internal billing documents. Often, these
   5   documents provide critical information about a patient’s lack of coverage for
   6   bariatric surgery, Counterclaim Defendants’ knowledge of that lack of coverage,
   7   and in some instances, the lies Counterclaim Defendants told to patients about their
   8   coverage. See Dkt. 531, ¶ 125.
   9         The case of United Member 8 illustrates why Counterclaim Defendants
  10   might prefer the loss of counsel over the disclosure of documents that the Court has
  11   ordered produced. Patient Notes of United Member 8 provide powerful evidence
  12   that in the days before her surgical procedure, Counterclaim Defendants knew that
  13   the patient had no bariatric benefits—even with medical necessity—and despite that
  14   Counterclaim Defendants assured her that she had such coverage, and they then
  15   performed medical procedures whose only purpose was to clear her for Lap Band
  16   surgery that she was never going to have. See Dkt. 549-3, Ex. 2. United Member
  17   8’s Insurance-Verification form similarly indicates that Counterclaim Defendants
  18   knew that she did not have bariatric-surgery benefits. See Dkt. 531, Ex. G.
  19   Notably, United has possession of these documents through independent witnesses,
  20   not discovery in this case; indeed, Counterclaim Defendants have never produced a
  21   complete set of Patient Notes for United Member 8 or any other patient at issue,
  22   and evidently are doing whatever they can to forestall those productions. Instead,
  23   in a declaration previously filed in this case Counterclaim Defendants attached a
  24   cherry-picked excerpt of United Member 8’s Patient Notes that actually excludes
  25   the entries showing that they knew United Member 8 lacked bariatric-surgery
  26   benefits, and that they put her through a battery of preparatory tests for a Lap Band
  27   despite knowing that she would never get one. Compare Dkt. 55, ¶ 22 Ex. F. with
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   1   Ex. 549-3, Ex. 2. 12 In other words, Ms. Dean’s transparent effort to withdraw in
   2   the face of imminent orders to produce documents—like Mr. Jubelt’s before her—
   3   is really designed to delay the day in which Counterclaim Defendants are forced to
   4   answer for the fraud they perpetrated on United and the health plans it administers.
   5            Even absent the apparently bad faith reasons for seeking withdrawal, United
   6   will be prejudiced if Ms. Dean is allowed to withdraw. This case has already been
   7   pending for nearly four years and United has tried in vain to move discovery along.
   8   Currently, the fact discovery deadline is September 14, 2018 and the trial is
   9   scheduled for January 29, 2019. Dkt. 468. Yet seven months from the close of fact
  10   discovery, United is still waiting for production of documents responsive to its
  11   requests served three years ago. This has caused delays in United’s ability to take
  12   depositions and even when it has attempted to schedule depositions without the
  13   benefit of documents, Counterclaim Defendants have thrown up roadblock after
  14   roadblock based on the claimed unavailability of counsel and a revolving door of
  15   attorneys. Ms. Dean’s motion makes no indication that any Counterclaim
  16   Defendant is willing to retain substitute counsel and in fact suggests that no counsel
  17   could to the work necessary.
  18            Under the Local Rules, “no organization or entity . . . including corporations
  19   may appear in any action or proceeding unless represented by an attorney permitted
  20   to practice before this Court.” L.R. 83-2.2.2; see also Rowland v. Cal. Men’s
  21   Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 201-02 (1993) (“It has been
  22   the law for the better part of two centuries . . . that a corporation may appear in the
  23
       12
  24      United obtained United Member 8’s Patient Notes only through communications
       with United Member 8’s attorney and Dr. Marvin Perer, one of her treating
  25   physicians. Based on the excerpted Patient Notes attached to an October 2014
       declaration—months after both the government seizure and the supposed
  26   assignment of the NexTech software license—it is clear that Counterclaim
       Defendants have access to these critical documents, and they have chosen instead to
  27   conceal them from United and the Court in an attempt to avoid liability for their
  28   fraud.
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   1   federal courts only through licensed counsel.”). As such, this case will grind to a
   2   halt even more should Ms. Dean be allowed to withdraw, especially given that there
   3   is no indication that her clients are seeking to obtain substitute counsel. To the
   4   extent Counterclaim Defendants use this change of counsel as yet another delay
   5   tactic, this Court should enter default judgment in favor of United. See L.R. 83-
   6   2.2.4; Emp. Painters’ Trust v. Ethan Enters., Inc., 480 F.3d 993, 998 (9th Cir.
   7   2007) (upholding default judgment after corporation failed to hire an attorney
   8   following withdrawal).
   9                                     III.   CONCLUSION
  10            Based on the foregoing, the Court should deny Ms. Dean’s Motion to be
  11   Relieved as Counsel for Counterclaim Defendants.13
  12
  13   Dated: February 26, 2018
  14
  15   By: /s/ Bryan S. Westerfeld                    By: /s/ Michelle S. Grant
  16   Bryan S. Westerfeld                                 Timothy Branson
       Nicole E. Wurscher                                  Michelle S. Grant
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                                                           Facsimile: (612) 340-2868
  20
       Attorneys for United Healthcare Services,
  21   Inc. United Healthcare Insurance
       Company, and OptumInsight, Inc.
  22
  23
       13
  24     United has attempted for some time to schedule various depositions in this
       matter. It is currently working with Ms. Dean to schedule a handful of depositions
  25   in March. Ms. Dean has indicated that even if her motion to withdraw is granted
       she will continue on the case to complete depositions scheduled shortly after this
  26   hearing. Today, Ms. Dean requested that the hearing on motion to withdraw be
       rescheduled from March 19. If the Court grants Ms. Dean’s motion, United
  27   requests an order requiring her to continue as counsel to complete any depositions
  28   scheduled in March or April.
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